Case 2:02-cr-20058-BBD Document 614 Filed 09/01/05 Page 1 of 4 Page|D 698

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western I)ivision

UNITED STATES OF AMERICA

 

-v- Case No. 2:02cr20058-9-D

HENRY PURDUE

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed. The defendant shall next appear as directed by the Court.

ADD|T|ONAL COND|TIONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 Execute a bond in the amount of $1,000.00 or an agreement to forfeit upon failure to appear as required, and
post with the following amount of money to be deposited into the registry of the Court: 10%.

0 Report as directed by the Probation Off"ice.

0 Other.' Defendant shall abide by all conditions of supervised release previously imposed..

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOW|NG PENALTIES AND SANCT|ONS:

AO 199A OrdetSerting Condilionscheiease This do'dnment entered on the docket sheet in compliance
with Fiole 55 and/or 32(b} FHCrP on ’

Case 2:02-cr-20058-BBD Document 614 Filed 09/01/05 Page 2 of 4 Page|D 699

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a tenn of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,00() fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of irnprr`sonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense ln addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that I am the defendant in this case and that lam aware of the conditions of release. l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed l am aware

of the penalties and sanctions set forth above.
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Henry Purdue

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Memphis, TN 38119
(901) 743-6996

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Case 2:02-cr-20058-BBD Document 614 Filed 09/01/05 Page 3 of 4 Page|D 700

DlRECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: Septernberl,2005 F(Ot/L/Q/i/L,L \%/ M

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Vr§m

AO 199A Order Selting Conciltions of Release -3 -

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Notice of Distribution

This notice confirms a copy of the document docketed as number 614 in
case 2:02-CR-20058 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listedl

 

 

PDA

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Honorable Bernice Donald
US DISTRICT COURT

